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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                             BLUEFIELD DIVISION

UNITED STATES OF AMERICA

v.                                    Criminal Case No.:      1:10-00185-06

DAVID CROCKETT


                        MEMORANDUM OPINION AND ORDER

     Pending before the court is defendant’s motion to expunge

his criminal record, filed August 3, 2015.             (Doc. No. 417).      The

defendant seeks to expunge the record related to his 2011

conviction for violation of 21 U.S.C. § 843(b).              Defendant argues

that he has had difficulty finding gainful employment due to his

federal conviction.

     In the absence of a federal statute authorizing expungement,

federal courts, in their exercise of ancillary jurisdiction, may

grant a motion to expunge only where extreme or exceptional

circumstances exist.       United States v. Steelwright, 179 F. Supp.

2d 567, 572-73 (D. Md. 2002) (citing Geary v. United States, 901

F.2d 679, 679-80 (8th Cir. 1990)); see also Allen v. Webster, 742

F.2d 153, 155 (4th Cir. 1984) ("[C]ourts must be cognizant that

the power to expunge is a narrow one, and should not be routinely

used whenever a criminal prosecution ends in an acquittal, but

should be reserved for the unusual or extreme case.") (internal

citations and quotations omitted).          As one court opined,

"[a]lthough a nebulous concept, `extreme or exceptional

circumstances' has been characterized as occurring, for example,
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when the underlying arrest and conviction has been the result of

official misconduct or the denial of constitutional rights."

Steelwright, 179 F. Supp. 2d at 574.

     Because the court finds no extreme or exceptional

circumstances have been demonstrated, defendant’s motion to

expunge is DENIED.

     The Clerk is directed to forward a copy of this Memorandum

Opinion and Order to counsel of record and to defendant.

     It is SO ORDERED this 14th day of August, 2015.

                                         Enter:


                                        David A. Faber
                                        Senior United States District Judge
